       AO 450 (Rev. 10/09) Judgment in a Civil Action
            USDC IN/ND case 3:12-cr-00082-RLM-MGG                        document 179       filed 02/15/14           page 1 of 1
                                                         UNITED STATED DISTRICT COURT
                                                         NORTHERN DISTRICT OF INDIANA


                         DAVID C DIRCKS                              )
                                Plaintiff(s)                         )
                                                                     )      Civil Action No. 3:14cv101 a/f 3:12cr82
                                     V.
               UNITED STATES OF AMERICA                              )

                                Defendant(s)                         )


                                                    JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):
    the plaintiff(s)                                                                                                      recover from
the defendant(s)                                                                                                          the amount of

                                                                                          dollars ($                   ), which includes
prejudgment interest at the rate of                     %, plus postjudgment interest at the rate of             %, along with costs.

    the plaintiff(s) recover nothing, the action to be dismissed on the merits, and the defendant(s)
                                                                  recover costs from the plaintiff(s)
                                                                                                                 .

    other: The petition is DENIED pursuant to 28:2255.




This action was (check one):
   tried by a jury with Judge                                                      presiding, and the jury has rendered a verdict.

   tried by Judge                                                           without a jury and the above decision was reached.

   decided by Judge Robert L. Miller Jr.                                        on a motion for his sentence to be vacated

pursuant to 28:2255.

                                                                                                                                      .

Date         February 15, 2014                                           CLERK OF COURT
                                                                                        s/KSchwenk

                                                                            Signature of Clerk or Deputy Clerk
